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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §     CRIMINAL NO. H-12-01
                                                 §
                                                 §
NATHANIEL CHILO                                  §
SAVANNAH WILLIAMS                                §


                                            ORDER

       Defendant Williams filed an unopposed motion for continuance, (Docket Entry No. 30).

The government and the codefendant are unopposed. The court finds that the interests of justice are

served by granting this continuance and that those interests outweigh the interests of the public and

the defendants in a speedy trial. The motion for continuance is GRANTED. The rearraignment

hearing is reset to November 27, 2012 at 9:30 a.m.

               SIGNED on November 2, 2012, at Houston, Texas.


                                                     ______________________________________
                                                              Lee H. Rosenthal
                                                        United States District Judge
